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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION


 FAIR FIGHT, INC., JOCELYN
 HEREDIA, SCOTT BERSON, and
 JANE DOE,
                                              Civil Action No.
        Plaintiffs,                           2:20-cv-00302-SCJ

        v.

 TRUE THE VOTE, INC., CATHERINE
 ENGELBRECHT, DEREK
 SOMERVILLE, MARK DAVIS,
 MARK WILLIAMS, RON JOHNSON,
 and JAMES COOPER,

        Defendants.


                      PLAINTIFF’S NOTICE OF APPEAL

      Pursuant to 28 U.S.C. § 1291 and Rules 3 and 4 of the Federal Rules of

Appellate Procedure, Plaintiff FAIR FIGHT, INC. hereby gives notice of its appeal

to the United States Court of Appeals for the Eleventh Circuit from the order entered

by the district court on January 2, 2024, granting judgment in favor of Defendants.

See Order (ECF No. 336) (attached as Ex. 1). Plaintiff appeals the judgments in favor

of TRUE THE VOTE, INC., and CATHERINE ENGELBRECHT.
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Respectfully submitted this 1st day of February, 2024.


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